






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00369-CR






Crae Robert Pease, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 7 OF TRAVIS COUNTY


NO. 720828, HONORABLE WILLIAM E. BENDER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's brief was due October 30, 2006.  The brief has not been received, no
extension of time has been requested, and appellant's retained attorney, Mr. Dal Ray Ruggles, did
not respond to this Court's notice that the brief is overdue.

The appeal is abated.  The trial court shall conduct a hearing to determine whether
appellant desires to prosecute this appeal, whether appellant is indigent, and, if he is not indigent,
whether retained counsel has abandoned this appeal.  Tex. R. App. P. 38.8(b)(2).  The court shall
make appropriate findings and recommendations.  A record from this hearing, including copies of 


all findings and orders and a transcription of the court reporter's notes, shall be forwarded to the
Clerk of this Court for filing as a supplemental record no later than January 19, 2007. 
Rule&nbsp;38.8(b)(3).



						__________________________________________

						Bob Pemberton, Justice

Before Justices B. A. Smith, Pemberton and Waldrop

Filed:   December 15, 2006

Do Not Publish


